                        UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                                 3:17-cv-00518


CAROL HAZEL,

                                   Plaintiff,

                    v.
                                                                    ORDER
CALDWELL COUNTY SCHOOLS,
CALDWELL BOARD OF EDUCATION,

                                 Defendants.



       THIS MATTER is before the Court on Defendant’s Motion to Dismiss (Doc. No. 7).

       Plaintiff filed her initial Complaint on June 29, 2017, in Mecklenburg County Superior

Court. On August 28, 2017, Defendant removed the matter to this Court and subsequently filed a

Motion to Dismiss. Plaintiff timely filed an Amended Complaint in accordance with Fed. R. Civ.

P. Rule 15 on October 26, 2017. Defendant’s Motion to Dismiss has been rendered moot by

Plaintiff’s Amended Complaint.

       THEREFORE Defendant’s Motion to Dismiss is hereby DISMISSED WITHOUT

PREJUDICE. As previously ordered, Defendant shall answer or otherwise respond to the

Amended Complaint on or before November 23, 2017.

       SO ORDERED.

                                         Signed: November 7, 2017




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